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 4
       Attorney for Defendant
 5     GREGORY AMOS
 6
                                UNITED STATES DISTRICT COURT
 7
                            SOUTHERN DISTRICT OF CALIFORNIA
 8                                (Hon. Dana M. Sabraw)
 9     UNITED STATES OF AMERICA,             )      Case No. 18-CR-4294-DMS
                                             )
10                 Plaintiff,                )
                                             )
11     v.                                    )      JOINT MOTION FOR CONTINUANCE
                                             )      OF SENTENCING DATE
12     GREGORY AMOS, et. al.                 )
                                             )
13                 Defendants.               )      DATE: April 26, 2019 @ 9:00 am
                                             )      COURTROOM 13A
14                                           )
15           The parties to the instant case, by and through their attorneys, hereby move the
16     Court for an Order continuing the sentencing hearing scheduled for April 26, 2019 at
17     9:00 a.m. to August 23, 2019 at 9:00 a.m.
18                                                  Respectfully Submitted,
19
       Dated: March 20, 2019                        /s Keith H. Rutman
20                                                  KEITH H. RUTMAN
                                                    Attorney for Defendant
21                                                  GREGORY AMOS
                                                    Email: krutman@krutmanlaw.com
22
       Dated: March 20, 2019                        /s Victor Pippins
23                                                  VICTOR PIPPINS
                                                    Attorney for Defendant
24                                                  CHRISTOPHER PAUL HERNANDEZ
                                                    Email: victor@pippinslaw.com
25
26     Dated: March 20, 2019                        s/Matthew Sutton
                                                    MATTHEW SUTTON
27                                                  Assistant U.S. Attorney
                                                    Email: Matthew.sutton@usdoj.gov
28
     Case 3:18-cr-04294-DMS Document 51 Filed 03/20/19 PageID.250 Page 2 of 2



 1                               SIGNATURE CERTIFICATION
 2           Pursuant to § 2(f) of the Southern District of California's Electronic Case Filing
 3     Administrative Policies and Procedures Manual, I hereby certify that the content of this
 4     document is acceptable to all persons required to sign the document and have obtained
 5     authorization for the electronic signatures of all parties on the document.
 6
       Dated: March 20, 2019                           s/ Keith H. Rutman
 7                                                     KEITH H. RUTMAN
                                                       Attorney for Defendant
 8                                                     GREGORY AMOS
                                                       Email: krutman@krutmanlaw.com
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